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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


JOSEPH SCLAFANI, MICHAEL FEINSTEIN,
and BRET CAPPOLA,

                    Plaintiffs,

CAROL A. MICI, in her official capacity as
Commissioner of the Massachusetts Department     C.A. No.
of Corrections,
DOUGLAS DEMOURA, in his official capacity
as Superintendent of MCI-Cedar Junction, and
STEVE SILVA, in his official capacity as
Superintendent of MCI-Norfolk,

                   Defendants.
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                                     DECLAR.\ TION OF YVONNE SMIKLE, MD

             Pursuant to 28 U.S.C. § 1746, I, Yvonne Smikle, M.D., declare as follows:

             I. My name is Yvonne Smikle. I am a board certified physician in family medicine employed

                by Middlesex Recovery. In my clinical capacity as his treating physician, I have boen

                working with Joseph Sclafani since July 2019 to assist with his recovery from opioid use

                disorder.

             2. 1 received my medical degree from the University of Massachusetts in 1999. I completed my

                rosidency at the University of Massachusetts. A copy ofmy curriculum vitae is attached as

                Exhibit I.

             3. For over sixteen years, I have treated patients who suffer from opioid use disorder with

                medication for addiction trea1ment (MAT), including buprenorphine and naltrexone. Since

                August 2012, I have been at the Middlesex Recovery office-based trea1ment center, where I

                offer MAT to treat opioid use disorder.

             4. The use of MAT is the medical standard of care for the treatment of opioid use disorder.

             5, Every day I treat patients for opioid use disorder and other fonns of substance use disorder.

                For many ofmy patients, an essential component of treatment for opioid use disorder is the

                administration of MAT maintenance.

             6. I have treated hundreds of patients with MAT, including buprenorphine, and witnessed how

                it can save patient's lives.

             7. I met Joe Sclafani when I admitted him into Middlesex Recovery in July 2019. I diagnosed

                Joe with opioid use disorder and prescribed buprenorphine to treat it based on his

                individualized mtJdical needs. In choosing this treatment, I considered, among other things,

                the length and severity of Joe's active addiction to opioids; his risk factors for relapse,




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                including chronic pain and mental illness; and his previously unsuccessful attempts to stay in

                long-term recovery without medication.

             8. Based on Joe's addiction and treatment history, I prescribed him 16 mg ofbuprenorphine per

                day. At this dosage, Joe did not suffer from the symptoms of opioid use disorder and he did

                not use illicit opiates. He was able to function each day as a parent of a young boy. In my

                medical opinion, 16 mg is the appropriate dose for Joe at this stage in his recovery.

             9. [n my medical opinion, a dose lower than 16 mg a day exposes Joe to a significant risk of

                relapse, overdose, and death.

             IO. As his treating physician, I monitored Joe's recovery progress from July 2019 until his

                incarcc::ration in August 2019. It is my understanding that Joe plans to remm to Middlesex

                Recovery for treatment after his release from incarceration.

             11. With the assistance ofhuprenorphine, Joe was able to control the symptoms of his addiction

                while he was in treatment with me. He did not have a single positive dmg screen at our

                clinic. I would describe Joe as extremely motivated to stay in active recovery. In my opinion,

                the continued administration ofbuprenorphine maintenance treatment is medically necessary

                to treat his opioid use disorder.

             12. In my medical opinion, Joe is not ready lo be tapered off ofbuprenorphine. The length of

                time a patient remains on buprenorphine depends on the particular circumstances of the

                individual patient. Some of my patients have required buprenorphine treatment for many

                years. In general, patients with chronic pain and mental illness tend to need to be on

                buprenorphine for longer, and Joe falls into both those categories.

             13. For patients who are ready to be tapered off of buprenorphine, it is critical that the tapering

                happen very slowly. A change in dose of 2 mg usually takes at least two months. Once



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                tapering begins, it usually takes one or more years to taper off ofbuprenorphine completely. I

                have seen patients relapse when they are tapered off ofbuprenorphim; too quickly. The

                length of a taper v,111 depend on the patient and must be determined through an

                individualized assessment.

             14. A taper period that is too short will cause symptoms of withdrawal, which can include

                dianhea, vomiting, muscle pain, tremors, and insomnia. Patients in withdrawal from MAT

                are at a high risk of relapse because the symptoms are so uncomfortable. It is for this exact

                reason that, when I lower a patient's dose, I do so over many months or years.

             15. Forcing Joe ta cease his buprenorphine maintenance treatment while incarcerated exposes

                him to a severe risk of relapse. I have heard about numerous patients who have relapsed,

                overdosed, and died soon after they were released because they were not provided MAT

                while they were incarcerated. Joe faces a particularly high risk of relapse and overdose

                because of his chronic pain and mental illness, and also because opioid use is so prevalent in

                his community of Gloucester.

             16. I anticipate that one day Joe will be ready to start slowly tapering off of his buprenorphine

                treatment. But doing so now defies medical judgment. Forcing Joe to discontinue his

                buprenorphine treatment while he is incarcerated in DOC facilities puts his life at serious

                risk.

                I declare under penalty of perjury under the laws of the United States of America that the

                foregoing is true and correct


                Executed on December         2019




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